     Case 2:11-cr-00107-WFN    ECF No. 569   filed 11/15/11   PageID.1482 Page 1 of 1




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 2
                               UNITED STATES DISTRICT COURT
 3                            EASTERN DISTRICT OF WASHINGTON
 4
       UNITED STATES OF AMERICA,                )
 5                                              )    No. CR-11-107-WFN-13
                        Plaintiff,              )
 6                                              )    ORDER GRANTING MOTION TO
       v.                                       )    MODIFY CONDITIONS OF RELEASE
 7                                              )
       CRUZ RANGEL, a/k/a Pica,                 )
 8                                              )
                        Defendant.              )
 9                                              )

10           Before the court is Defendant’s unopposed Motion to Modify

11    Conditions of Pretrial Release.          The court has reviewed the reasons

12    for the request.

13           IT IS ORDERED that Defendant’s Motion (ECF No. 558) is GRANTED.

14           Electronic home monitoring and the curfew shall be removed as

15    conditions of pretrial release.               (ECF No. 313 at 5-6.)               The

16    Defendant is required to abide by all other terms and conditions of

17    Order Setting Conditions of Release entered on July 27, 2011.                 (ECF

18    No. 313.)

19          DATED November 15, 2011.

20
21                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING MOTION TO MODIFY CONDITIONS OF RELEASE - 1
